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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 Senator RICHARD BLUMENTHAL, et al.,

                        Plaintiffs,

                 v.                                     No. 17-cv-1154-EGS

 DONALD J. TRUMP, in his official capacity
 as President of the United States,

                        Defendant.



                   CONSENT MOTION FOR EXTENSION OF TIME
              TO ANWER AND TO FILE LOCAL CIVIL RULE 16.3 REPORT

       Defendant, the President of the United States, respectfully seeks an extension of time of

two weeks, from May 14, 2019 to May 28, 2019, to answer the Amended Complaint and for the

parties to submit the report and proposed scheduling order required by Local Civil Rule 16.3.

Plaintiffs’ counsel consents to the extension request. In support of this motion, Defendant states

as follows:

       1.       Plaintiffs, who are Members of Congress, filed this lawsuit alleging that the

President has violated the Foreign Emoluments Clause of the Constitution. In September 2018,

the Court denied Defendant’s motion to dismiss in part, finding that Plaintiffs have Article III

standing to sue. Thereafter, Defendant moved pursuant to 28 U.S.C. § 1292(b) for an

interlocutory appeal of the Court’s standing ruling. On April 30, 2019, the Court denied the

remainder of the motion to dismiss and set a briefing schedule for supplemental filings on

Defendant’s pending § 1292(b) motion, with Defendant’s initial brief due on May 14, 2019.

       2.       Pursuant to Federal Rule of Civil Procedure 12(a)(4)(A), the President’s Answer

is now due on May 14, 2019, the same deadline for his § 1292(b) brief. And pursuant to this
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Court’s Standing Order, the parties’ joint report and proposed scheduling order required by Local

Civil Rule 16.3 is also due on May 14, 2019.

       3.       Defendant respectfully asks for additional time to answer and to prepare the Rule

16.3 report. Good cause exists for this request because undersigned counsel must prepare the

§ 1292(b) brief during the same timeframe, in addition to addressing a large number of

allegations in the Amended Complaint, and because Defendant will need to consider a wide

range of topics as required by the Rule 16.3 in order to meet and confer with Plaintiff and to

prepare the joint report. Accordingly, Defendant seeks a modest two-week extension of time for

both the Answer and the Rule 16.3 report.

       WHEREFORE, Defendant respectfully requests that the Court extend both Defendant’s

answer deadline and the deadline for the parties’ Rule 16.3 report to May 28, 2019.

Dated: May 3, 2018                                 Respectfully submitted,

                                                  JOSEPH H. HUNT
                                                  Assistant Attorney General

                                                  JENNIFER D. RICKETTS
                                                  Branch Director, Federal Programs Branch

                                                  ANTHONY J. COPPOLINO
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                                                  /s/ Jean Lin
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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 Senator RICHARD BLUMENTHAL, et al.,

                        Plaintiffs,

                v.                                      No. 17-cv-1154-EGS

 DONALD J. TRUMP, in his official capacity
 as President of the United States,

                        Defendant.


                                      [PROPOSED] ORDER

       Upon consideration of Defendant’s Consent Motion for Extension of Time to Answer and

to File Local Civil Rule 16.3 Report and for good cause shown, it is hereby

       ORDERED that the Motion is GRANTED; and it is further

       ORDERED that Defendant shall file his Answer to the Amended Complaint, and the

parties shall file their Local Civil Rule 16.3 report, on or before May 28, 2019.

       SO ORDERED.



                                                      EMMET G. SULLIVAN
                                                      United States District Judge
